 

6/22/2019 Case 19-18083 Doc 15 Filed @f26/19 Page 1 of 7

UNITED STATES BANKRUPTCY COURT -
FOR THE DISTRICT OF MARYLAND

 

 

 

at BALTIMORE DIVISION Jus 26 2613
In re: ' s BANSFCIT TCY c 2URT
Redd, Nicole Case No. |G— ( a0 1 mic T oi Me LAND
Debtor. Chapter 13 DROP box
CHAPTER 13 PLAN
Mf Original Plan ( Amended Plan [.] Modified Plan

1. GENERAL PLAN PROVISIONS.

The Debtor proposes the following Chapter 13 Plan and makes the following declarations (mark one of the following
boxes that apply for each of 1.1, 1.2, and 1.3. below). /f a box is marked as “does not...” or if more than one box is
marked in each section, the provision will be ineffective if set out later in the plan.

1.1. Declaration as to Nonstandard Provisions.
This Plan: Wi does not contain nonstandard provisions.
OR [_] contains nonstandard provisions set out in Section 9 below.

1.2 Declaration as to Limiting Secured Claims.
This Plan: wi does not limit the amount of a secured claim.
OR [_} limits the amount of a secured claim based on the value of the collateral securing the claim as set out in
Sections 5.1 through 5.4 below.

1.3 Dectaration as to Avoiding Security Interests.
This Plan: Wi does not avoid a security interest or lien.
OR [_] avoids a security interest or lien as set out in Section 5.1 through 5.4 below.

2. NOTICES.
You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do
not have an attorney, you may wish to consult one.

2.1 Notices to Creditors.

Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. The declarations set
out in Section 1 above may be of particular importance.

If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file an
objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Court may confirm this Plan without further notice if no objection to confirmation is filed. See
Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under the Plan.

2.2 Notices to Debtors.

This form lists options that may be appropriate in some cases, but not all cases. Just because an option is listed on
the form does not mean that it is appropriate for you. Plans contrary to the local rules and Court rulings may not be
confirmed.

3. PLAN TERMS.
The Debtor's future earnings are submitted to the supervision and control of the Trustee, and the Debtor will pay as
follows (mark and complete one of 3.1, 3.2, or 3.3 and/or 3.4 below; and, optionally, 3.5 as applicable):

3.1. Even Monthly Payments.
$200.00 per month for a term of 60 months.

OR

C) 3.2 Varying Monthly Payments.

OR

CL) 3.3. Varying Monthly Payments Before and After Confirmation.
AND/OR

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6/22/2019 Case 19-18083 Doc15_ Filed"@6/26/19 Page 2 of 7

3.4 Additional Payments.
In addition to monthly Plan payments under 3.1, 3.2, or 3.3, above, the Debtor will make the payments listed below:
Amount Date Source of Payment

3.5 Additional Payment of Tax Refunds.

The Debtor will provide the Trustee with copies of state and federal tax returns for the years listed below within 15
days of filing the returns (and must timely file the returns on or before April 15 of each year). Not later than June 1 of each
year, the Debtor will pay into the Plan the amount of refunds exceeding __$0.00_ (the amount already pro rated on
Schedule |, if any) for each of the listed years unless otherwise ordered by the Court. The tax refund payments are in
addition to, and not a credit against, the other payments required to be paid under the Plan. The Debtor will not make any
change to the number of any federal and state tax withholding allowances claimed as of the petition date without 30 days
prior notice to the Trustee.

This commitment covers tax years (list):

 

4. DISTRIBUTION OF PLAN PAYMENTS.
From the payments made, the Trustee will make distributions in the order listed below:

4.1 Trustee’s Commission.
The Trustee will receive the allowed Trustee commission under 11 U.S.C. § 1326(b)(2).

4.2 Administrative Claims.

Next to be paid, except as provided in Section 4.3 below, are administrative claims under 11 U.S.C. § 507(a)(2),
including Debtor’s Counsel fee balance of _ $0.00 due and payable pursuant to a fee arrangement made under
Subparagraphs 4.A, B, or C of Appendix F to the Local Bankruptcy Rules.

4.3 Domestic Support Obligations and Non-Appendix F Attorney Fees.

Next to be paid, at the same time and pro rata, are allowed unsecured claims for: (i) domestic support obligations
under 11 U.S.C. § 507(a)(1); and (ii) any Debtor's Counsel fee allowed under 11 U.S.C. § 507(a)(2) by Bankruptcy Court
order following an application pursuant to a fee arrangement under Section 7 of Appendix F to the Local Bankruptcy Rules.
Debtor’s Counsel fee balance to be paid through the Plan is expected to be in the amount of __$0.00__.

4.4 Former Chapter 7 Trustee Claims.
Next to be paid are any claims payable to the former Chapter 7 Trustee under 11 U.S.C. § 1326(b)(3). List the
monthly payment: _$0.00_.

4.5 Priority Claims.
Next to be paid are other priority claims defined by 11 U.S.C. § 507(a)(3) - (10). List the expected claims below:
Priority Creditor Expected Claim Amount

Monetary Solutions $150.00

 

 

4.6 Secured Claims.

Next to be paid, at the same time and pro rata with payments on priority claims under Section 4.5 above, are
secured claims as set forth below. The holder of an allowed secured claim retains its lien under 11 U.S.C. § 1325(a)(5)(B)(i).
Any allowed secured claim listed in the Plan to be paid by the Trustee will be deemed provided for under the Plan. Any
allowed secured claim not listed in the Plan to be paid by the Trustee, or not stated to be paid outside of or otherwise
addressed in the Plan, will be deemed not provided for under the Plan and will not be discharged.

4.6.1. Adequate Protection Payments for Claims Secured by or Subject to a Lease of Personal Property

Beginning not later than 30 days after the petition date and until the Plan is confirmed, the Debtor will directly
pay adequate protection payments for claims secured by or subject to a lease of personal property for: None Ww or the
Claims Listed Below ([} (mark one box only). After confirmation of the Plan, the claims will be paid under Section 4.6.3.
Make sure to list the amount of the monthly payment the Debtor will pay before confirmation, and list the last 4 digits only of
the account number, if any, the lienholder uses to identify the claim:

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6/22/2019 Case 19-18083 Doc15_ Filed'@8/26/19 Page 3 of 7

4.6.2. Pre-petition Arrears on Secured Claims.

Pre-petition arrears on secured claims will be paid through the Plan in equal monthly amounts while the Debtor
directly pays post-petition payments beginning with the first payment due after filing the petition for: None Mi or the Claims
Listed Below (_} (mark one box only). The claims listed below include: Claims Secured by the Debtor’s Principal Residence
(_} and/or Other Property (_}.

4.6.3. Secured Claims Paid Through the Plan.

The following secured claims will be paid through the Plan in equal monthly amounts for: None Wi or the
Claims Listed Below (.} (mark one box only). Such secured claims include secured claims altered under Sections 5.1
through 5.5 below. Make sure to list the interest rates to be paid:

4.6.4. Surrender Collateral to the Lienholder.

The Debtor will surrender collateral to the lienholder for: None wi or the Claims Listed Below (_} (mark one box
only). Describe the collateral securing the claim. Any allowed claim for an unsecured deficiency will be paid pro rata with
general unsecured creditors. Unless the Court orders otherwise, a claimant may amend a timely filed proof of claim for an
unsecured deficiency after entry of the confirmation order as follows: (a) the amended proof of claim asserting an unsecured
deficiency claim for real property shall be filed within days (no less than 180 days) after entry of the confirmation
order; (b) the amended proof of claim asserting an unsecured deficiency claim for personal property shall be filed within

days (no less than 60 days) after entry of the confirmation order. Upon plan confirmation, the automatic stay of
11 U.S.C. §§ 362 and 1301 terminates, if not terminated earlier, as to the collateral listed:

4.6.5. Secured Claims Outside of the Plan.

The Debtor will directly pay the secured claims outside of the Plan for: None Wi or the Claims Listed Below
(mark one box only). Such claims are deemed provided for under the Plan. The Debtor will also directly pay outside of the
Plan the unsecured portion of a claim that is only partially secured, and any such unsecured claim is deemed provided for
under the Plan:

4.6.6 Secured Claim Not Listed in the Plan.
The Debtor will directly pay any allowed secured claim not listed in the Plan outside of the Plan. Any such claim
will not be discharged.

4.6.7. Additional Payments on Secured Claims.
If the Trustee is holding more funds than those needed to make the payments under the Plan for any month,
the Trustee may pay amounts larger than those listed in Sections 4.6.2 and 4.6.3 pro rata.

4.7. Unsecured Claims.
After payment of all other claims, the remaining funds will be paid on allowed general unsecured claims as follows
(mark one box only):

Wf Pro Rata (} 100% (j 100% Plus _0.00% __ interest.

if there is more than one class of unsecured claims, list each class and how it is to be treated:
Class of Unsecured Creditors Treatment

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Student loans

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6/22/2019 Case 19-18083 Doc15 Filed 6426/19 Page 4 of 7

5. THE AMOUNT AND VALUATION OF CLAIMS.

Secured creditors holding claims treated under Section 5 retain their liens until the earlier of: the payment of the
underlying debt determined under nonbankruptcy law; or discharge under 11 U.S.C. § 1328; or, if the Debtor cannot receive
a discharge as provided in 11 U.S.C. § 1328(f), the notice of Plan completion. If the case is dismissed or converted without
completion of the Plan, liens shall also be retained by the holders to the extent recognized under applicable nonbankruptcy
law.

§.1. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 506 Through the Plan.

The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 506 through the Plan for: None wi or the Claims
Listed Below (_) (mark gne box only). The claims listed below include: Claims Secured by the Debtor’s Principal Residence

and/or Other Property (_). Make sure to list the value of the collateral proposed to be paid through the Plan plus any

interest below and in Section 4.6.3 above, as appropriate. Separately file: evidence of the collateral’s value; the existence of
any superior lien; the exemption claimed; and the name, address, and nature of ownership of any non-debtor owner of the
property. If the lienholder has not filed a proof of claim, also separately file evidence of the amount of the debt secured by
the collateral. The amount and interest rate of the claim is set as listed below or by superseding Court order. A proof of
claim must be filed before the Trustee makes payments. Any undersecured portion of such claim shall be treated as
unsecured.

5.2. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 506 by Separate Motion or an Adversary Proceeding.

The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 506 by separate motion or an adversary
proceeding for: None Wi or the Claims Listed Below ((} (mark one box only). The amount and interest rate of the claim will
be set by Court order. Make sure to list the value of the collateral proposed to be paid through the plan plus any interest as
determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed before the Trustee makes
payments. Any undersecured portion of such claim shall be treated as unsecured.

5.3. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 522(f)* Through the Plan.

The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 522(f)* through the Plan for: None 7, or the
Claims Listed Below (_} (mark one box only). Make sure to list the value of the collateral proposed to be paid through the
Plan plus any interest below and in Section 4.6.3 above, as appropriate. Separately file: evidence of the collateral’s value;
the existence of any superior lien; the exemption claimed; and the name, address, and nature of ownership of any non-
debtor owner of the property. If the lienholder has not filed a proof of claim, also separately file evidence of the amount of
the debt secured by the collateral. The amount and interest rate of the claim is set as listed below or by superseding Court
order. A proof of claim must be filed before the Trustee makes payments. Any undersecured portion of such claim shall be
treated as unsecured.

“Under 11 U.S.C. § 522(f) the Debtor may avoid a lien to the extent it impairs an exemption if the lien is a judicial lien or a
nonpossessory, non-purchase money security interest in certain property.

5.4. Valuing a Claim or Avoiding a Lien Under 11 U.S.C. § 522(f)* by Separate Motion or an Adversary |
Proceeding. |
The Debtor seeks to value a claim or avoid a lien under 11 U.S.C. § 522(f)* by separate motion or an adversary
proceeding for: None Wi or the Claims Listed Below ((] (mark one box only). The amount and interest rate of the claim will
be set by Court order. Make sure to list the value of the collateral proposed to be paid through the Plan plus any interest as
determined by the Court in Section 4.6.3 above, as appropriate. A proof of claim must be filed before the Trustee makes
payments. Any undersecured portion of such claim shall be treated as unsecured.
*Under 11 U.S.C. § 522(f) the Debtor may avoid a lien to the extent it impairs an exemption if the lien is a judicial lien or a
nonpossessory, non-purchase money security interest in certain property.

5.5. Claims Excluded from 11 U.S.C. § 506".

The Debtor will pay through the Plan the following claims excluded from 11 U.S.C. § 506** in full plus any interest
for: None Wi or the Claims Listed Below (() (mark one box only). Make sure to list the amount proposed to be paid through
the Plan plus any interest below and in Section 4.6.3 above, as appropriate. The amount of each claim to be paid will be
established by the lienholder’s proof of claim or Court order. The interest rate of the claim is set as listed below or by
superseding Court order. A proof of claim must be filed before the Trustee makes payments.

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6/22/2019 Case 19-18083 Doc15 , Filed ®@¥26/19 Page 5 of 7

“Claims excluded from 11 U.S.C. § 506 include claims where the lienholder has a purchase money security interest
securing a debt incurred within the 910-day period preceding the petition date, and the collateral consists of a motor vehicle
acquired for the personal use of the Debtor, or the collateral consists of any other thing of value if the debt was incurred
during the 1-year period preceding the petition date.

6. APPLICATION OF PAYMENTS ON ACCOUNT OF SECURED CLAIMS.

Payments made by the Chapter 13 Trustee on account of arrearages on pre-petition secured claims may be applied
only to the portion of the claim pertaining to pre-petition arrears, so that upon completion of all payments under the Plan, the
loan will be deemed current through the petition date.

7. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

Any unexpired lease with respect to personal property that has not previously been assumed during the case, and is
not assumed in the Plan, is deemed rejected and the stay of 11 U.S.C §§ 362 and 1301 is automatically terminated with
respect to such property. The following executory contracts and/or unexpired leases are assumed or rejected for: None Wi
or the Claims Listed Below ((] (mark one box only). Any claim for rejection damages must be filed within 60 days from entry
of the order confirming this Plan.

8. REVESTING PROPERTY OF THE ESTATE.

Title to the Debtor's property shall revest in the Debtor when the Debtor is granted a discharge pursuant to 11 U.S.C.
§ 1328; or, if the Debtor cannot receive a discharge as provided in 11 U.S.C. § 1328(f), upon the notice of Plan completion;
or upon dismissal of the case.

9. NON-STANDARD PROVISIONS.
Any non-standard provision placed elsewhere in the Plan is void. Any and all nonstandard provisions are: None Wi
or Listed Below (_} (mark one box only).

10. SIGNATURES.

The Debtor’s signature betow certifies that the Plan provisions above are all the terms proposed by the Debtor, and
the Debtor has read all the terms and understands them. The signature below of the Debtor and Debtor’s Counsel, if any,
also certifies that the Plan contains no non-standard provision other than those set out in Section 9 above.

Date: Vucole, Ved
Nicole Redd

Debtor

 

Attorney for Debtor

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Case 19-18083 Doc15 Filed 06/26/19 Page6 of 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

In Re: Nicole Redd | Case Number: 19-18083 ~—
| Chapter: 13 ws
Debtor(s) | JUN 26 2019
US, BANKRUPTCY COURT
CERTIFICATE OF SERVICE DISHRICT GE Maier ND

 

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I HEREBY CERTIFY that on this 21th day of June, 2019 a copy of
The Plan was mailed on June 21, 2019 in reference to case 19-18083. Notice was mailed via
First Class mail to the following parties of interest:

ALLY FINANCIAL
PO BOX 380901
Minneapolis, MN 55438

America Web Loan
2128 N. 14th Street 1
Ponca City, OK 74601

AMERICAN MEDICAL
COLLECTION

4 WESTCHESTER PLAZA
Elmsford, NY 10523

BIG PICTURE LOANS
E23970 POW WOW TRAIL
Watersmeet, MI 49969

CREDITOR COLLECTION
SERVICE

PO BOX 2154

Roanoke, VA 24018

CW NEXUS CREDIT CARD
101 CROSSWAYS PARK
Woodbury, NY 11797

DEPT OF EDU/NAVIENT
123 JUSTISON STREET 3RD FLOOR
NEWARK, DE 19713
Case 19-18083 Doc15 Filed 06/26/19 Page 7 of 7

 

FIRST PREMIER
3820 N. LOUISE AVE
SIOUX FALLS, SD 57107

Len Stoler Lexus
11311 Reisterstown Road
Owings Mills, MD 21117

MARC R. DONATY, ATTORNEY
AT LAW

2833 SMITH AVE 230
Baltimore, MD 21209

MIDLAND FUNDING LLC
2365 NORTHSIDE DR 300
SAN DIEGO, CA 92108

Onward Credit
505 N. LaSalle Drive
Chicago, IL 60654

PORTFOLIO RECOVERY
500 W. 1ST STREET
HUTCHINSON, KS 67501

STATE COLLECTION SERVICES
PO BOX 6250

MADISON, WI 53701

WELLS FARGO DEALERS SVCS

PO BOX 10709
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Raleigh, NC 27605
Debtor

 
